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                          UNITED STATES DISTRICT COURT

                          WESTERN DISTRICT OF NEW YORK


__________________________________

UNITED STATES OF AMERICA,

             Plaintiff,
                                                    AMENDED
             v.                                 SCHEDULING ORDER

GARY L. MOORE,                                  Criminal Docket 06-CR-86S(Sr)


           Defendant.
__________________________________


              The defendant has requested additional time within which to file pretrial
motions. The government does not object. The Scheduling Order which was filed on
April 18, 2006, is hereby amended as follows:

      (1)    All pretrial motions, both dispositive and non-dispositive, including
             all supporting papers and memoranda of law in support thereof, shall
             be filed by June 23, 2006.

      (2)    All responses to pretrial motions, including all supporting papers and
             memoranda of law in support thereof, filed in accordance with the
             preceding paragraph shall be filed by July 7, 2006.

      (3)    Oral argument on any pretrial motions shall be heard on July 19, 2006,
             at 2:00 P.M.

       (4)   IF NO MOTIONS ARE FILED ON OR BEFORE THE AFORESAID
             DATE, THE PARTIES ARE HEREBY DIRECTED TO MEET WITH
             HON. WILLIAM M. SKRETNY ON JUNE 28, 2006, AT 9:00 A.M.

       In accordance with the Second Circuit Speedy Trial Guidelines, Part I(C)(3)(a) and
(b), and upon the authority of United States v Piontek, 861 F.2d 152, 154 (7th Cir., 1988);
United States v Montoya, 827 F.2d 143, 153 (7th Cir., 1987); United States v. Wilson, 835
F2d 1440, 1444 (D.C. Cir., 1987; United States v Tibboel, 753 F.2d 608, 610 (7th Cir.,
1985); and United States v Jodoin, 672 F.2d 232, 238 (1st Cir., 1982), the period of time
from June 3, 2006, until the date of making and/or filing of pretrial motions is excluded
pursuant to 18 U.S.C. § 3161(h)(8)(A).
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        If no motions are filed by the filing date set forth in paragraph (2), the case shall be
referred to the district court judge to whom the case is assigned for trial and the speedy
trial exclusion set forth above shall terminate as of the cutoff date for the filing of motions
set forth herein.

       Any requests for extension of the above dates must be in strict compliance with
Local Rule 12.2 of the Local Rules of Criminal Procedure for the Western District of New
York, which requires written application prior to the due date, made to the courtroom
deputy. Such application shall be made only after conferring with all other parties and shall
include a suggested rescheduled date, agreeable to all parties. As a general rule, no
request for an extension will be granted unless extraordinary circumstances are present.

      Failure by any party to raise defenses or objections, or to make requests which
must be made prior to trial at the time set forth in this scheduling order or prior to any
extension made by the court shall constitute a waiver thereof. FedR.Crim.P. 12(f).

      Counsel for the parties are directed to provide the Court with a courtesy copy
of Motions, Responses, Replies, Memoranda of Law, and Exhibits clearly marked.

       SO ORDERED.

                                                   /s/ H. Kenneth Schroeder, Jr.
                                                   _______________________________
                                                   H. KENNETH SCHROEDER, Jr.
                                                   United States Magistrate Judge


DATED:        June 2, 2006
              Buffalo, New York
